Case 21-03006        Doc 62     Filed 02/09/23       Entered 02/09/23 09:58:58        Page 1 of 10




                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF CONNECTICUT


IN RE:                                                 CHAPTER 7

    ACE BEGONIAS INC.,                                 CASE NO. 19-31430 (AMN)

         DEBTOR.


BONNIE C. MANGAN, Chapter 7 Trustee for                ADV. PRO. NO. 21-03006(AMN)
ACE BEGONIAS, INC.

         PLAINTIFF,

         v.

WELLS FARGO BANK, N.A. d/b/a                           FEBRUARY 9, 2023
WELLS FARGO CARD SERVICES,

         DEFENDANT

WELLS FARGO BANK, N.A.’S SUPPLEMENTAL RESPONSE TO THE STATEMENT
              IN RESPONSE TO ORDER TO SHOW CAUSE

         Wells Fargo Bank, N.A. respectfully resubmits the invoices with the highlighted time

entries that relate to its request for reimbursement of $2,941.48 of attorney fees as set forth in its

Supplemental Response to the Statement in Response to Order to Show Case, ECF No. 57.

                                               WELLS FARGO BANK, N.A.

                                               By:       /s/ Tara L. Trifon
                                                       Tara L. Trifon (ct28415)
                                                       Locke Lord LLP
                                                       20 Church Street, 20th Floor
                                                       Hartford, Connecticut
                                                       T: (860) 525-5065; F: (860) 527-4198
                                                       E-mail: tara.trifon@lockelord.com




130983714v.1
Case 21-03006       Doc 62     Filed 02/09/23     Entered 02/09/23 09:58:58         Page 2 of 10




                                CERTIFICATE OF SERVICE

        I hereby certify that on February 9, 2023 a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by email to all parties by operation of the court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this document through the court’s CM/ECF System.




                                                            /s/ Tara L. Trifon
                                                            Tara L. Trifon




                                              -2-
130983714v.1
Locke
  Case 21-03006 Doc 62 Filed 02/09/23 Entered 02/09/23 09:58:58 Page 3 of 10                                              2200 Ross Avenue
                                                                                                                                 Suite 2800
                                                                                                                            Dallas, TX 75201
                                                                                                                  Telephone: (214) 7 40-8000

  Lord.""                                                                                                               Fax, (214) 740-8800
                                                                                                                          www.lockelord,com
                                                                                                                         -lax
  Aitorneys & Counselors                                                                                                      lD XX-XXXXXXX




        Wells Fargo Home Mortgage                                                                     December 2,2022
        Attn: Denise P. Brennan, F0001-098                                                         lnvoice No.: 1761776
        800 Walnut St.
        Des Moines, lA 50309




        Total amount due for the legal services rendered in connection with the
        referenced matter through November 30,2022.                                                              s1 .560.'10

                      File Number: 0567447.01529
                              RE: Ace Begonias lnc. (Bonnie C. Mangan, Chapter 7 Trustee)

                   Loan Number:

        Your File Number: WF2021031005

                           Borrower:


        DATE                ATTY                       DESCRIPTION                                HOURS              VALUE
        11t08t22            SJH        Analysis of settlement agreement issues                         0,40           114.00
        11109t22            RTM        Review case status and risk assessment                          0.20           110.40
        11t09122            SES        Finalize Q4 2022 Risk Assessment Form                           0,40             86.80
                                       ahead of sending to S. Darnielle and C.
                                       Hoffman.
        11t10t22 TLT                   Correspondence with opposing counsel                            0.20             80.00
                                       regarding the settlement negotiations.
        11t15t22 SJH                   Exchange correspondence with T, Trifon                          0.10             28 50
                                       concerning settlement timing considerations.
        11t20t22 SJH                   Email to C. Hoffman with draft settlement                       0,10             28.50
                                       agreement and additional comments about
                                       status of negotiations with bankruptcy trustee.
        11t20t22 SJH                   Revise and edit draft settlement agreement to                   0.20             57.00
                                       prepare for client review.
        11121t22 RTM                   Review settlement ag reement,                                   0.30           165.60


         Atlanta rAustin. Boston r BrusselsrChicagot Cincinnati r Dallas r Hartford. Houston r London r LosAngelesr Miami r Newark
                NewOrleanstNewYorkrProvidencerSanAntoniorSanFranciscorStamfordfWashingtonDCrWestPalmBeach
Case    21-03006
Wells Fargo             Doc 62
            Home Mortgage               Filed 02/09/23           Entered 02/09/23 09:58:58       Page
                                                                                      lnvoice Date:      4 of2,2022
                                                                                                    December   10
File No.: 0567447.01529                                                                                      lnvoice No.: 1761776
                                                                                                                         Page: 2



DATE              ATTY                            DESCRIPTION                                    HOURS VALUE
                               correspondence, and next steps.
11t21t22 TLT                   Correspondence with opposing counsel                                   030              '120.00
                               regarding the settlement agreement and
                               motion to approve settlement.
11t21t22 TLT                   Draft motion for extension of time to file the                         0.50            200.00
                               motion to approve the settlement.
11121t22 SJH                   Exchange correspondence with T. Trifon                                 0.10              28.50
                               concerning issues related to upcoming case
                               status conference.
11122t22 RTM                   Review hearing issues and case resolution                              0.20             110.40
                               status.
11t22t22 TLT                   Attend pretrial conference with court regarding                        0.80             320.00
                               the settlement agreement.
11t23t22 RTM                   Review show cause order.                                               0.20             110.40
                               TOTAL HOURS                                                            4.00

                TOTAL FEES                                                                                         $1,560.10


                                             BILLING PROFESS¡ONALS


TIMEKEEPER                                       CLASS                   RATE                 HOURS                   VALUE
R. T. Mowrey                                     Partner                552.00                     090                 496.80
T. L. Trifon                                     Partner                400.00                     1 .80               720,00
S. J. Humeniuk                                 Associate                285.00                     090                 256.50
S. E. Sheets                                   Paralegal                217.O0                     0.40                  86.80
TIMEKEEPER TOTALS                                                                                  4.00            $1,560.10

TOTAL BALANCE DUE                                                                                                  $1.560.10


PLEASE REMIT PAYMENT:

Via US Mail:                            Via ACH:                                            Via Wire:
 Locke Lord                             ABA Routing:                                        ABA Routing:
 P,O. Box 91 1541                       Account:                                            Swift Code (lnternational):
 Dallas, Texas 7 5391 -1 541            Account Name: Locke Lord LLP                        Account:
                                        Eank Name: JPMorgan Chase Bank, N.A.                Bank: JPMorgan Chase Bank, N.A.
                                                                                            712Main Street, Houston,fX 77002
                                                                                            Reference: LL lnvoice Number / Matter

lf you wish to remit payment via ACH, please contact the Firm's treasury department at lltreasury@lockelord.com
Case 21-03006             Doc 62        Filed 02/09/23            Entered 02/09/23 09:58:58                   Page 5 of 10


Locke Lord LLP wlll never submit ån email to its clients requesting a change to payment remittance instructions, Please contact the
Firm's treasury department at lltreasury@lockelord.com or Firm's attorney should you receive such a request.

This statement is due upon receipt. Please call R. T. Mowrey of this firm if you have questions concerning legal services covered by
this statement, or if you dispute the amount of the statement. Shaun Viau @ (401)276-6481 , can answei questions concerning
payments on your account. (Please note that this statement covers only those services and expenses described above. lt does not
include the unpaid balance of any prior statement.)
  Case 21-03006 Doc 62 Filed 02/09/23 Entered 02/09/23 09:58:58 Page 6 of 10
Locke                                                                                                                           2200 Ross Avenue
                                                                                                                                       Suite 2800
                                                                                                                                 Dallas, TX 75201
                                                                                                                       Telephone: (214) 740-800O

  Lord."'                                                                                                                    Fax (214)740-8800
                                                                                                                              www.lockelord.corn
                                                                                                                              Tax lD: 74-1 164324
  Altorneys & Counselors




        Wells Fargo Home Mortgage                                                                          January 4,2023
        Attn: Denise P. Brennan, F0001-098                                                            lnvoice No.: 1767533
        800 Walnut St.
        Des Moines, lA 50309




        Total amount due for the expenses incurred in connection with the
        referenced matter through December 31, 2022.                                                                         $61.98

                      File Number: 0567447.01529
                              RE: Ace Begonias lnc. (Bonnie C. Mangan, Chapter 7 Trustee)

                   Loan Number:

       Your File Number: WF2021031005

                           Borrower:


        DATE               EXPENSES                                                                                          VALUE
        12t14t22           Expense of trip of 1211412022, Travel to BK Court re: Hearing on                                   31.31
                           Rule to Show cause
        12114t22           Expense of trip of 1211412022,Travel from BK Court to office re:                                   24.32
                           Hearing on Rule to Show cause
        12t14t22           Expense of trip of 1211412022, Parking re: attendance at show cause                                  6.35
                           hearing
                           TOTAL EXPENSES                                                                                    $61.98

       TOTAL EXPENSES                                                                                                        $61.98

       TOTAL BALANCE DUE                                                                                                     $qL98

        PLEASE REMIT PAYMENT:

        Via US Mailr                          Via ACH:                                          ia-VUiæi
        Locke Lord LLP                        ABA Routing:                                      BA Routing:
        P.O. Box 91 1541                      Accouni:                                         Swift Code (lnternational):
        Dallas, Texas 75391 -1 541            Account Name: Locke Lord LLP                     Account:


         Atlanta rAustin t Boston i Brussels r Chicago r Cincinnati I Dallas. Hartford, Houston . London. LosAngeles r Miami r Newark
                NewOrleansrNewYorktProvidencerSanAntoniorSanFranciscorStamfordrWashingtonDCrWestPalmBeach
Case 21-03006             Doc 62        Filed 02/09/23            Entered 02/09/23 09:58:58                    Page 7 of 10


                                        Bank Name: JPMorgan Chase Bank,       N.A.           Bank: JPMorgan Chase Bank, N.A.
                                                                                             712 Main Street, Houston,lX 77002
                                                                                             Reference: LL lnvoice Number / Matter

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  Case 21-03006 Doc 62 Filed 02/09/23 Entered 02/09/23 09:58:58 Page 8 of 10
Locke                                                                                                                       2200 Ross Avenue
                                                                                                                                   Suite 2800
                                                                                                                             Dallas, TX 75201
                                                                                                                   Telephone: (214) 740-8000

  Lord""                                                                                                                 Fax: (214)740-8800
                                                                                                                           www.lockelord.com
                                                                                                                          lax lD XX-XXXXXXX
  Altorneys & Counselors




        Wells Fargo Home Mortgage                                                                         January 6,2023
        Attn: Denise P. Brennan, F0001-098                                                           lnvoice No.: 1767982
        800 Walnut St.
        Des Moines, lA 50309




        Total amount due for the legal services rendered in connection with the
        referenced matter through December 31,2022.                                                                s3.366.20

                      File Number: 0567447.01529
                              RE: Ace Begonias lnc. (Bonnie C. Mangan, Chapter 7 Trustee)

                   Loan    Number: *
        Your File Number: WF2021031005

                           Borrower: *

        DATE               ATTY                         DESCRIPTION                                HOURS               VALUE
        12t09t22            RTM     Review response to show cause order                                 r\â^            165.60
        12t09t22            SJH     Analysis of settlement issues in light of court's                   0.10              28.50
                                    order to show cause against Trustee's
                                    counsel.
        12t13t22 RTM                Review Wells Fargo's response to plaintiff's                        0.30            165.60
                                    motion to show cause.
        12t13t22 TLT                Draft response to the trustee's statement                            1.80           720.00
                                    related to the order to show cause.
        12t13122 SJH                Review and comment concerning Trustee's                             040             114.00
                                    response to Court's order to show cause.
        12t13t22 SJH                Perform research concerning                                         0,20              57.00



        12t14t22 RTM                Review hearing issues, case status, and next                        0.30            165.60
                                    steps.


         Atlanta.Austin r Boston. Brussels. Chicago r Cincinnati r Dallas r Hartford r Houston . London. LosAngeles r Miami r Newark
               NewOrleansrNewYorkrProvidencetSanAntoniorSanFrancisco.StamfordrWashingtonDCrWestPalmBeach
Case    21-03006
Wells Fargo             Doc 62
            Home Mortgage               Filed 02/09/23           Entered 02/09/23 09:58:58      Page
                                                                                       lnvoice Date:    9 of6,2023
                                                                                                     January  10
File No.: 0567447.01529                                                                                       lnvoìce No.: 1767982
                                                                                                                           Page: 2




DATE             ATTY                              DESCRIPTION                                   HOURS                VALUE
12t14t22          TLT         Attend hearing on the order to show cause                               3.20           1,280.00
12t14122          SJH         Perform legal research concerning                                       0.20               57 00



12t14t22 SJH                  Analysis of developments to case at hearing                             0.20               57.00
                              on Court's order to show cause to Trustee's
                              counsel.
12t15t22          TLT         Correspondence with client regarding the                                0.90             360.00
                              settlement status and the order to show cause
                              hearing.
12t15t22          SJH         Analysis of issues related to settlement timing                         0.30               85.50
                              and completion.
12t20t22          RTM         Review court order and next steps.                                       0.20             110,40
                              TOTAL HOURS                                                              8.40

               TOTAL FEES                                                                                           $3,366.20


                                             BILLING PROFESSIONALS


TIMEKEEPER                                       CLASS                   RATE                 HOURS                    VALUE
R. T. Mowrey                                     Partner                 552.00                    1.10                 607,20
T. L. Trifon                                     Partner                400.00                     590               2,360.00
S. J. Humeniuk                                 Associate                 285 00                    1,40                 399.00
TIMEKEEPER TOTALS                                                                                  8.40             $3,366.20

TOTAL BALANCE DUE                                                                                                   s3.366.20


PLEASE REMIT PAYMENT:

Via US Mail:                            Via ACH:                                            Via Wire:
Locke Lord LLP                          ABARouting:1                                        ABA Routing:
P.O, Box 91 1541                        Account:                                            Swift Code (lnternational):
Dallas, Texas 7 5391 -1 541             Account Name: Locke Lord LLP                        Account:0
                                        Bank Name: JPMorgan Chase Bank, N.A.                Bank: JPMorgan Chase Bank, N.A.
                                                                                            712Main Street, Houston, TX 77002
                                                                                            Reference: LL lnvoice Number / Matter

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